
BYONS, Judge.
We all concur, in opinion, that the plea is bad, and that a re-pleader must be awarded.
But I differ with those who think, that it was right to receive the witness. For he and the defendant claim the same boundaries; and both are interested, in establishing the corner tree, at No. 1. That no man can be a witness in his own cause is a rule of universal justice; and it is also laid down that no person interested in the question, before a court, can be a witness. Nay more, if a witness only apprehends himself to be interested, although, in fact, he be not, yet he is not admissible. *1 Stra. 129. Now here the defendant and the witness both claiming the same corner, they have equal interest in establishing the same fact. Therefore although the witness is not subject to the costs and damages in that suit, yet his title and boundaries are drawn into question; and the verdict and judgment, in this case, will, as Lord Holt observes in Salk. 283, be sure to be heard of, and may have an influence, on the jury, in any suit, which may be brought against him. I am therefore of opinion, that he was not a competent witness; but, as the court are divided upon this point, no direction, with regard to it, can be given. The judgment however, is to be reversed for want of an issue, and a repleader awarded.
Judgment reversed and a repleader awarded.
